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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

SIMRET SEMERE TEKLE                       )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )                   Case No.:       1:18-cv-00211
                                          )
NOUF BIN NAYEF ABUL-AZIZ AL SAUD and )
MOHAMMAD BIN ABDULLAH AL SAUD             )
                                          )
      Defendants.                         )
__________________________________________)

                           DEFENDANTS’ MOTION TO DISMISS

       Defendants Nouf Bin Nayef Abul-Aziz Al Saud and Mohammad Bin Abdullah Al Saud,

by and through undersigned counsel, move, pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss with

prejudice the Fifth Claim for Relief in Plaintiff’s Complaint (Dkt. 1) for failure to state a claim

upon which relief can be granted. The grounds supporting Defendants’ Motion to Dismiss are

set forth in the accompanying Memorandum.

Dated: June 8, 2018                                   Respectfully submitted,

                                                      /s/ John L. Brownlee
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                                CERTIFICATE OF SERVICE

        I certify that on this 8th day of June, 2018, a true copy of the foregoing was served via

electronic case filing to:

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